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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

GUILLERMO MARTI and FELICIA MARTI
JT TEN, derivatively on behalf of CASSAVA   Case No.: 1:24-cv-02223
SCIENCES, INC.,
                                            Hon. John F. Kness, U.S. District Court
                   Plaintiff,               Judge

           vs.                              Hon. Jeffrey Cole, U.S. Magistrate Judge

REMI BARBIER, ERIC J. SCHOEN,
RICHARD J. BARRY, ROBERT Z. GUSSIN,
MICHAEL J. O’DONNELL, SANFORD R.
ROBERTSON, and PATRICK J. SCANNON,

                   Defendants,

           and

CASSAVA SCIENCES, INC.,

                  Nominal Defendant.
JOSE GARZA, derivatively on behalf of
CASSAVA SCIENCES, INC.,                     Case No.: 1:24-cv-02725

                   Plaintiff,               Hon. John F. Kness, U.S. District Court
                                            Judge
           vs.

REMI BARBIER, ERIC J. SCHOEN,
RICHARD J. BARRY, ROBERT Z. GUSSIN,
MICHAEL J. O’DONNELL, SANFORD R.
ROBERTSON, and PATRICK J. SCANNON,

                   Defendants,

           and

CASSAVA SCIENCES, INC.,

                   Nominal Defendant.

    UNOPPOSED MOTION TO CONSOLIDATE RELATED SHAREHOLDER
DERIVATIVE ACTIONS, APPOINT LEAD COUNSEL FOR PLAINTIFFS, AND STAY
                      CONSOLIDATED ACTION
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       Plaintiffs Guillermo Marti, Felicia Marti JT Ten, and Jose Garza (“Plaintiffs”) respectfully

move for entry of an Order: (i) consolidating the above-captioned actions pursuant to the terms set

forth in the [Proposed] Order submitted concurrently herewith; (ii) appointing The Brown Law

Firm, P.C. (“The Brown Law Firm”) as lead counsel (“Lead Counsel”) for plaintiffs in the

consolidated action; (iii) staying the consolidated action through a ruling on any motion for class

certification in the related federal securities class action captioned Baker v. Cassava Sciences, Inc.

et al, Case No. 1:24-cv-00590-DAE (the “Securities Class Action”) pursuant to the terms set forth

in the [Proposed] Order submitted concurrently herewith; and (iv) granting such further relief as

the Court deems just and proper.

       Counsel for Plaintiffs has conferred with counsel for Defendants 1 in the above-captioned

actions, and Defendants agree that the cases should be consolidated and stayed pending a ruling

on a motion for class certification in the Securities Class Action pursuant to the Parties’ agreed-to

terms set forth in the [Proposed] Order. Defendants take no position on the appointment of Lead

Counsel for plaintiffs in the consolidated action.

                                         BACKGROUND

       On March 18, 2024, plaintiffs Guillermo Marti and Felicia Marti JT Ten filed a shareholder

derivative action on behalf of nominal defendant Cassava Sciences, Inc. (“Cassava” or the

“Company”) alleging causes of action for violations of Section 14(a) of the Securities Exchange

Act of 1934 (the “Exchange Act”), breach of fiduciary duties, unjust enrichment, abuse of control,

gross mismanagement, waste of corporate assets, and for contribution under Sections 10(b) and




1
  “Defendants” means Cassava Sciences, Inc. together with individual defendants Remi Barbier,
Eric J. Schoen, Richard J. Barry, Robert Z. Gussin, Michael J. O’Donnell, Sanford R. Robertson,
and Patrick J. Scannon (the “Individual Defendants”). Plaintiffs and Defendants, taken together,
are referred to herein as the “Parties.”
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21D of the Exchange Act, against the Individual Defendants captioned Marti et al. v. Barbier et

al., Case No. 1:24-cv-02223 (the “Marti Action”). (Marti Action, ECF No. 1).

       Later, on April 4, 2024, plaintiff Jose Garza filed a shareholder derivative action on behalf

of nominal defendant Cassava in this Court alleging substantially similar claims as those alleged

in the Marti Action captioned Garza v. Barbier et al., Case No. 1:24-cv-02725 (the “Garza Action”

and together with the Marti Action, the “Related Actions”) against substantially the same

defendants. (Garza Action, ECF No. 1).

       In addition to the Related Actions, Cassava and certain of the Individual Defendants are

named as defendants in the Securities Class Action. (Securities Class Action, ECF No. 1).

       To promote the efficient prosecution of the Related Actions, Plaintiffs now seek for the

Court to consolidate the Related Actions, appoint Lead Counsel for plaintiffs in the consolidated

action, and stay the consolidated action pending a ruling on a motion for class certification in the

Securities Class Action pursuant to the terms set forth in the [Proposed] Order. 2 Defendants agree

that the Related Actions should be consolidated and that the consolidated action should be stayed

pending a ruling on a motion for class certification in the Securities Class Action pursuant to the

terms set forth in the [Proposed] Order. Defendants take no position on the appointment of Lead

Counsel for plaintiffs in the consolidated action.

                                              ARGUMENT

       1.      The Related Actions Should be Consolidated

       Plaintiffs respectfully request that the Related Actions be consolidated. The power to




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  The Parties previously filed a stipulation with the Court requesting the same relief as requested
herein on July 19, 2024. On July 30, 2024, Your Honor entered a Minute Entry requesting that
“the parties file this stipulation as a motion to consolidate, in accordance with the Court’s motion
policy[.]”
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consolidate related actions falls within the broad inherent authority of every court “to control the

disposition of the causes on its docket with economy of time and effort for itself, for counsel, and

for litigants.” Seoul Semiconductor Co. v. Ace Hardware Corp., 2024 WL 2939050, at *2 (N.D.

Ill. June 11, 2024) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)); see also Midwest

Cmty. Council v. Chicago Park Dist., 98 F.R.D. 491, 499 (N.D. Ill. 1983) (“If two cases appear to

this court to be of like nature and relative to the same question, if a joint trial of them would avoid

unnecessary costs and delay, and it is reasonable to try them together, it is within the Court’s

discretionary power to order consolidation.”). Consolidation is governed by Rule 42 of the Federal

Rules of Civil Procedure, which provides:

       When actions involving a common question of law or fact are pending before the
       court, it may order a joint hearing or trial of any or all the matters in issue in the
       actions; it may order all the actions consolidated; and it may make such orders
       concerning proceedings therein as may tend to avoid unnecessary costs or delay.

Fed. R. Civ. P. 42(a).

       Consolidation in the Northern District of Illinois is further governed by Local Rule 40.4,

which provides that “[a] case may be reassigned to the calendar of another judge if it is found to

be related to an earlier-numbered case assigned to that judge.” In considering consolidation, courts

must find the following criteria met:

       (1) both cases are pending in this Court; (2) the handling of both cases by the same
       judge is likely to result in a substantial saving of judicial time and effort; (3) the
       earlier case has not progressed to the point where designating a later filed case as
       related would be likely to delay the proceedings in the earlier case substantially;
       and (4) the cases are susceptible of disposition in a single proceeding.

L.R. 40.4(b); see also Blocker v. City of Chicago, 2011 WL 1004137, at *2 (N.D. Ill. Mar. 16,

2011) (“The Seventh Circuit has emphasized that related cases pending within the same court

should be consolidated before a single judge to avoid wasteful overlap.”). In the context of

shareholder derivative litigation, consolidation is “particularly appropriate” as “the ‘cost of

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defending [] multiple actions may well do serious harm to the very corporation in whose interest

they are supposedly brought.’” Millman ex rel. Friedman’s Inc. v. Brinkley, 2004 WL 2284505, at

*2 (N.D. Ga. October 1, 2004) (internal citation omitted).

       Here, the Related Actions present the same common questions of law and fact, involve the

same defendants, and seek overlapping relief on behalf of the Company. Indeed, the Related

Actions both allege that current and former officers and directors of Cassava breached their

fiduciary duties to the Company by, inter alia, making a series of materially false and misleading

statements to the investing public concerning the accuracy and reliability of data the Company was

holding out as demonstrating the efficacy of Cassava’s drug candidate, simufilam. Moreover, the

Related Actions name as defendants the same seven Individual Defendants. See Marti Action, ECF

No. 1; Garza Action, ECF No. 1. Therefore, consolidation of the Related Actions is appropriate to

prevent unnecessary duplication of efforts and to conserve the resources of the Parties and the

Court. All Parties will benefit from the efficiencies, coordination of effort, and consistency of

adjudication that consolidation would create. Judicial economies and the interests of the Company

would best be served by formally consolidating the Related Actions to avoid separate litigation of

the same questions of fact and law in different cases.

       As such, Plaintiffs respectfully request that the Court consolidate the Related Actions and

any subsequently filed derivative actions regarding similar claims and conduct into a consolidated

action under the new caption In re Cassava Sciences, Inc. Derivative Litigation, Lead Case No.

1:24-CV-02223 (the “Consolidated Action”). See, e.g., Troy Stacy Enter. Inc. v. Cincinnati Ins.

Co., 337 F.R.D. 405, 411 (S.D. Ohio 2021) (“All related actions that are subsequently filed in, or

transferred to, this District shall be consolidated into this action.”). The Parties agree that the

Consolidated Action should be consolidated pursuant to the terms set forth in the [Proposed] Order



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filed concurrently herewith.

       2.      Appointment of The Brown Law Firm as Lead Counsel

               A.      A Leadership Structure is Necessary for the Effective Prosecution of
                       the Consolidated Action

       The authority to appoint lead counsel in shareholder derivative actions derives from the

inherent authority of courts “to create an efficient case-management structure.” N. Miami Breach

Gen. Emps. Ret. Fund v. Parkinson, 2011 WL 12465137, at *1 (N.D. Ill. July 5, 2011) (“[T]he

Court has the authority to appoint [] lead [] counsel in a derivative action in order to create an

efficient case-management structure.”); see also Hacker v. Peterschmidt, 2006 WL 2925683, at

*2-3 (N.D. Cal. Oct. 12, 2006) (“Upon consolidation, pursuant to Rule 42(a), the district court, ‘if

it sees fit, may appoint one or more attorneys as liaison counsel, lead counsel, or trial counsel for

the consolidated cases and accordingly assign the designated lawyers specific responsibilities.’”).

       In order to realize the efficiencies made possible by consolidation of the Related Actions,

Plaintiffs respectfully submit that The Brown Law Firm should be designated as Lead Counsel for

plaintiffs in the Consolidated Action.

               B.      The Brown Law Firm Is Qualified to Serve as Lead Counsel

       The court’s responsibilities in appointing lead counsel include assessing counsel’s

qualifications, experience, competence, and commitment to prosecuting the action on behalf of

plaintiffs. See Manual for Complex Litigation (Fourth) § 10.224 (2004). The Brown Law Firm is

well capitalized and fully capable and prepared to staff and finance this derivative litigation and

has extensive experience in handling complex shareholder derivative litigation, having served as

lead or co-lead counsel in numerous derivative cases around the country. See Exhibit A (firm

resume of The Brown Law Firm).

       To illustrate, The Brown Law Firm, serving as lead counsel, was instrumental in obtaining


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a $15.625 million total settlement on behalf of SeaWorld Entertainment, Inc. (“SeaWorld”), in

which a $12.5 million cash payment to SeaWorld as well as substantial corporate governance

reforms were obtained. Kistenmacher v. Atchison, et al., C.A. No. 10437 (Del. Ch. Court).

       The Brown Law Firm’s successes also include the global settlement of derivative actions

involving comScore, Inc. filed in state court in Virginia and the Southern District of New York, in

which the settlement received court-approval. The Brown Law Firm, serving as lead counsel for

plaintiffs in state court in Virginia, was instrumental in obtaining a $10 million cash payment for

comScore and causing comScore to institute a vast array of reforms to its corporate governance.

In re comScore, Inc. Virginia S’holder Deriv. Litig., Case No. CL-2016-0009465 (Va. Cir. Ct.,

Fairfax Cnty.); In re ComScore, Inc. S’holder Deriv. Litig., Case No. 1:16-cv-09855-JGK

(S.D.N.Y.).

       The Brown Law Firm also served as lead counsel for stockholders in a derivative action

brought on behalf of Henry Schein, Inc. in the United States District Court for the Eastern District

of New York and achieved a settlement consisting of various corporate governance policies that,

inter alia, bolstered Henry Schein’s antitrust compliance and guided the company through future

mergers and acquisitions processes. In re Henry Schein, Inc. Deriv. Litig., Case No. 1:19-cv-06485

(E.D.N.Y.).

       In addition, The Brown Law Firm served as co-lead counsel for stockholders in a derivative

action brought on behalf of The RealReal, Inc. in the United States District Court for the District

of Delaware, achieving a settlement involving significant corporate governance reforms, including

improvements to the company’s product consignment authentication practices by: amending the

Chief Operating Officer’s responsibilities to include overseeing the authentication process;

requiring semi-annual assessments of all authentication staff; and mandating training for all new



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authenticators. The reforms included mandatory semi-annual reports to the board of directors

addressing issues facing retail sales practices and any other issues faced by The RealReal

customers, and creation of a management-level risk and compliance committee. In re The

RealReal, Inc. Stockholder Deriv. Litig., Case No.: 20-cv-1212 (D. Del.).

       The Brown Law Firm also served as lead counsel for stockholders in a derivative action

brought on behalf of Gogo Inc. in the United States District Court for the Northern District of

Illinois, achieving a settlement in which, inter alia, three new management-level committees were

created, including a Technology Oversight Committee, Ethics Committee, and Risk Committee.

These corporate governance reforms were designed to enhance Gogo’s risk management,

compliance efforts, and disclosures at the executive and board levels. Nanduri v. Gogo Inc. et al.,

Case No.: 1:18-cv-06524 (N.D. Ill.).

       The Brown Law Firm had a leading role in negotiations of a settlement that comprised

sweeping reforms to CoreCivic, Inc.’s prison system in a global settlement of derivative actions

filed in state court in Tennessee and the Middle District of Tennessee, which settlement received

court-approval. The reforms included improvements to staffing, safety, and security policies and

procedures, and to healthcare services supplied to inmates. The Brown Law Firm served as lead

counsel for plaintiffs in state court in Tennessee. Delgrosso v. Ferguson, et al., Consolidated Case

No: 16-1228-IV (Davidson County, Tennessee Chancery Court); In re CoreCivic, Inc.

Shareholder Deriv. Litig., Case No.: 3:16-cv-03040 (M.D. Tenn.).

       In addition, The Brown Law Firm led the negotiations with Kahn Swick & Foti, LLC of a

settlement of derivative litigation brought on behalf of Newell Brands Inc. in the United States

District Court for the District of Delaware and in state court in New Jersey, in which the settlement

received court-approval. The settlement involved corporate governance reforms that included the



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addition of two new independent directors to the Board; enhanced oversight over the Company’s

public disclosures; amendments to the insider stock trading policy; and a new procedure for

oversight of repurchases. The Brown Law Firm was lead counsel for plaintiffs in the action in the

United States District Court for the District of Delaware. In re Newell Brands Inc. Derivative

Litigation, Lead Case No. 1:18-cv-1696 (D. Del.); Streicher v. Polk, et al., HUD-L-001853-23

(N.J. Super. Ct. Law Div.).

       The Brown Law Firm also served in the role of lead counsel for stockholders in a derivative

action brought on behalf of Synchrony Financial in the United States District Court for the District

of Connecticut in which the parties reached a settlement that recently received final court-approval.

The settlement involved corporate governance reforms that included, inter alia, expanding the

responsibilities of Synchrony’s Chief Credit Officer, Chief Risk Officer, and Chief Compliance

Officer; improvements to the Ombuds Program Policy that foster the reporting of any ethical and

legal violations; improvements to the Disclosure Committee and Risk Committee; and heightened

oversight of stock repurchases. In re: Synchrony Financial Derivative Litigation, Lead Case No.

3:19-cv-00130-VAB (D. Conn.).

       In addition, The Brown Law Firm served as co-lead counsel for stockholders in a derivative

action brought on behalf of Clover Health Investments, Corp. in the United States District Court

for the Middle District of Tennessee in which the parties reached a settlement that recently received

final court-approval. The settlement involved corporate governance reforms that included, inter

alia, the appointment of a new independent director to the Board, credit for previous appointments

of two new independent directors to the Board in 2023, the adoption of new Anti-Kickback,

Marketing, and Recoupment policies, the appointment of a Chief Corporate Compliance Officer,

and the creation of a new, formally chartered Clinical Committee charged with overseeing the



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company’s health-related strategies and initiatives. Sun v. Garipalli et al, Lead Case No. 3:21-cv-

00311 (M.D. Tenn.).

       Further, The Brown Law Firm was lead counsel for stockholders in a derivative action

brought on behalf of Omega Healthcare Investors, Inc. in the United States District Court for the

District of Maryland in which the parties reached a settlement that recently received final court-

approval. The settlement involved corporate governance reforms designed to improve Omega’s

diversity and anti-discrimination practices. The reforms include, inter alia, the appointment of a

new African-American, female, and independent director to the Board; the creation of an

Environmental, Social, and Governance Steering Committee and Charter to advance Omega’s

governance, sustainability and diversity inclusion programs; and the creation of a new diversity

training program that provides periodic Diversity and Inclusion training for all Company

employees and officers. Wojcik v. Omega Healthcare Investors, Inc., et al., Civil Action No. 1:20-

cv-03491-JKB (D. Md.).

       Thus, The Brown Law Firm has achieved outstanding results for shareholders in

shareholder derivative litigation, and the breadth of success of The Brown Law Firm should weigh

heavily in favor of appointing the firm as Lead Counsel. See In re India Globalization Capital,

Inc., Derivative Litig., 2020 WL 2097641, at *4 (D. Md. May 1, 2020) (“In addition to the

impressive resumes of named counsel in this case [The Brown Law Firm and another firm were

appointed co-lead counsel], both firms have extensive experience in shareholder derivative

litigation.”); Allred on behalf of Aclaris Therapeutics, Inc. v. Walker, 2021 WL 5847405, at *4

(S.D.N.Y. Dec. 9, 2021) (finding that the Brown Law Firm and another firm had “extensive

experience in shareholder derivative actions[,]” weighing in favor of final approval of the

stockholder derivative settlement).



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          Accordingly, The Brown Law Firm should be appointed as Lead Counsel for plaintiffs in

the Consolidated Action.

          3.     The Consolidated Action Should Be Stayed

          The allegations in the Related Actions substantially overlap with those in the Securities

Class Action. Thus, the Parties agree that resolution of any motion for class certification in the

Securities Class Action will inform the manner in which the Consolidated Action proceeds, and

the Parties believe that the interests of justice and efficient and effective case management would

best be served by staying the Consolidated Action through a ruling on any motion for class

certification in the Securities Class Action. The Parties agree that the Consolidated Action should

be stayed pursuant to the Parties’ agreed-to terms set forth in the [Proposed] Order filed

concurrently herewith.

                                           CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully move for entry of an Order, substantially

in the form as the [Proposed] Order submitted concurrently herewith: (i) consolidating the Related

Actions and any subsequently filed action regarding similar claims and conduct; (ii) appointing

The Brown Law Firm as Lead Counsel for plaintiffs; (iii) staying the consolidated action through

a ruling on any motion for class certification in the Securities Class Action pursuant to the terms

set forth in the [Proposed] Order; and (iv) granting such further relief as the Court deems just and

proper.




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                                          Respectfully submitted,

 Dated: August 27, 2024                   THE BROWN LAW FIRM, P.C.
                                          /s/ Timothy Brown
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                                          Counsel for Plaintiff Jose Garza




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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that on this day a copy of the foregoing document

was filed with the Court’s CM/ECF system which served the same on all counsel of record.

       This 27th day of August, 2024.



                                                           /s/ Timothy Brown
                                                           Timothy Brown




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